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                         MINT BANK INTERNATIONAL, LLC
                               IFE BUSINESS PLAN


   I.      Executive Summary

Mint Bank International, LLC (hereafter referred to as “Mint Bank” or “the Company”) is
being organized as an international financial entity (“IFE”), pursuant to Section 5(c) of Act
No. 273 of September 25, 2012, also known as the International Financial Center Regulatory
Act (“IFE Act”) and Act 164 of December 16, 2009, also known as the Puerto Rico General
IFEs Law, for the purpose of engaging in certain international financial businesses permitted
by the IFE Act.

Mint Bank will: (i) Accept deposits from foreign persons in checking accounts, as well as
demand or fixed term deposits, including interbank demand deposits and fund deposits, or
otherwise borrow money from international financial institutions and foreign person; (ii)
Make, procure, place, guarantee, or provide service to loans granted to non-PR/domestic
persons, except as otherwise authorized under the IFE Act; (iii) Carry out any banking
transactions allowed; (iv) Underwrite, distribute, and otherwise trade in securities issued by
a foreign person for final purchase outside of PR; (v) Engage in any activity of a financial
nature outside of Puerto Rico which would be allowed to be done, directly or indirectly, by a
bank holding company or by a foreign office or subsidiary of a United States bank under
applicable United States law; (vi) Buy and sale securities outside of PR; (vii) Act as a clearing
house in relation to financial contracts or instruments of foreign persons; (viii) Provide
services of financial nature to other international financial entities; and, (ix) Engage in other
activities that are incidental to the execution of the services authorized by the IFE Act.

The organizer of Mint Bank is Guy Gentile Nigro and the Company will initially be located in
1302 Ponce de León Avenue, José Ramón Figueroa Corner, San Juan, PR, 00907. This address
is a temporary address during the organization period of the Company. Mint Bank will
subsequently indicate its permanent place of business in Puerto Rico to the Office of the
Commissioner of Financial Institutions (“OCFI”).

Mint Bank will be managed by a Board of Directors; whose initial member is:

         Guy Gentile Nigro

Mint Bank, upon receipt of the IFE license to conduct business issued by OCFI, intends to
expand its Board of Directors to include qualified Puerto Rican individuals having experience
with international financial business transactions.

The Organizer is being proposed as the President and Chief Executive Officer of Mint Bank.
The Board of Directors and the officers shall be referred to herein as the Management. The
duties and responsibilities of the Management are fully described in Part IX of this Business
Plan.

The Organizer is actively interviewing accounting and legal professionals to work for Mint
Bank. At the outset, however, it is anticipated that the Company shall engage the services of
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BDO Puerto Rico, P.S.C. for accounting services, and the law offices of Adsuar, Muñiz, Goyco,
Seda & Pérez- Ochoa, P.S.C.


   II.      Operational Philosophy

The Organizer has extensive experience in lending, credit origination, proprietary investing,
and credit servicing business, including many years of experience working as the
CEO/Director of Stock USA Investments, Inc. since 1999 and Swiss America Securities, Ltd.,
since 2011. The Organizer also owns additional entities, with comprise from high end
restaurants to commercial buildings in New York and Florida. As a result of that experience,
the Organizer will be directly responsible for the day-to-day operations of the Company. He
will be in charge of the Company’s performance, adequacy of its internal controls and
regulation compliance, as well as current matters and policies affecting the industry in
general. He will be able to direct and supervise the Company effectively and responsibly. The
Organizer will manage the Company’s staff and make sure that the personnel adheres to the
Company’s guidelines.


   III.     Start-Up Phase

Initially, Mint Bank will accept deposits, make loans, manage assets, provide valuation and
operational advice and consultation regarding matters typically provided by investment
banking, and make proprietary investments of the type typically made by investment and
merchant banking institutions. At the outset, the Company’s main business will be carry out
banking transactions including accept deposits from foreign persons, and make, procure,
place, guarantee, or service loans, as authorized by Article 12(a)(1) and Article 12(a)(4) of
the IFE Act.

Accordingly, it’s anticipated that the primary uses of its funds will be reimbursement of
expenses required for the startup of the Company’s Office, initial operations, and the
acquisition of the Company initial investments. Mint Bank projects that the initial startup
cost will include but are not limited to: Working Capital, property and equipment, insurance
and miscellaneous and unforeseen costs.


   IV.      Mature Phase

Following the successful creation of Mint Bank, and execution of the business plan, the
Company intends to provide financial services to third parties. The Company’s clientele will
be located outside of Puerto Rico. The Company will generate the majority of its revenues
through asset management fees, consulting fees, principal transactions in which the
Company invests its own capital, and loans made to foreign borrowers.
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Mint Bank will serve its clients by providing a full line of assets management services, as well
as engaging in investment banking activities such as making loans, equity investments, and
accepting deposits.

The preceding description of the Company’s business is not intended to exclude any
reasonable opportunity that is otherwise congruent with the Company’s business strategy,
and the Company may seek the OCFI’s approval to expand its business should an appropriate
opportunity arise.

Mint Bank will possess a significant level of capital and its managers and executive officers
will have extensive experience in operating asset management, principal investing, and
investment and operational consulting operations, all as contemplated herein. The Company
will utilize this expertise and experience to create and manage a sound institution which
should have a life well beyond the life of the Organizer and the other initial members.


   V.      Proposed Capitalization

In connection with Mint Bank’s start of business, sufficient capital will be contributed into
the Company to ensure the institution is well-capitalized. Capital will comply in all respects
with OCFI policies, and a minimum amount of equity capital is anticipated to be $5,000,000
of which at least $250,000 shall be in the form of cash, cash equivalents and certificates of
deposit (some of which shall be pledged to OCFI in accordance with its current policies). In
addition, the Company will have a bank account with a minimum of $550,000, from which
$300,000 will be pledged to OCFI.

Mint Bank may issue notes, preferred shares of stock, and both voting and non-voting shares
of stock. The initial shareholder of the Company shall be as follows:

                 Ownership                                         Interest
              Guy Gentile Nigro                                     100%

In the future, as the Management is expanded, it is likely that the Company may need to
provide ownership interests to management pursuant to a Management Incentive Plan;
however, no such plan is in place at this time and no such plan will be put into place without
the prior consent of the OCFI.

Finally, to the extent additional capital is required, either the Organizer will seek to procure
approval and consent to the same from the OCFI, or the business of the Company shall be
decreased such that the capital available from the Organizer set forth above is sufficient.
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   VI.      Description of Business: Mission Statement

Mint Bank’s strategy is to build a premier asset management and a merchant and investment
banking business for markets located outside of Puerto Rico, yet product development and
servicing are to be provided primarily by Puerto Rican professionals and companies.
Management will at all times be focused on profitability, risk management, revenue
diversity, asset mix diversity, investment quality, and professional quality of its employees
and managers. The Company’s headquarters will be located in San Juan, Puerto Rico.


   VII.     Operating Divisions
Asset Management: Mint Bank intends to ensure that its asset management products are in
conformity with industry standards, and will outsource any functions that cannot be
provided at such a level by the Company’s professionals (either due to the absence of
experience of such managers, or due to economic efficiency standards).

Merchant Banking: Mint Bank intends to make commercial (non-consumer) loans to third
parties. Such loans shall be considered with the utmost of diligence and always with a mind
towards collateral and cash-flow coverage sufficient to repay any loans made by the
Company (with appropriates stress testing for even more adverse market conditions than
currently exist). With respect to the lending activities of the Company, management’s mantra
will be “never lose principal”. It is expected that, absent an extremely unusual circumstance
(such as inordinately significant liquidity of the prospective borrower and/or guarantors)
all loans will be significantly collateralized, and guaranteed.

Investment Banking: Mint Bank may purchase distressed commercial and consumer assets,
via the acquisition of portfolios of assets, or from the acquisition of interests in companies
owning such assets. Such investments will be evaluated on a case by case basis. In addition
to distressed assets, the Company may also invest in other asset classes such as distressed
real estate and securities (both public and private).

Accept Deposits: Mint Bank intends to accept deposits from foreign persons in checking
accounts. The accounts will be designated for receipts and payments relating to a trading,
operational or investment activity. The purpose of the account is to enable the account
holder (company or individual) to receive and pay money internationally with ease and
efficiency. The accounts are multi-currency and may be established in any mayor world
currency.


   VIII.    Economic Component:

The economy of Puerto Rico is closely linked to the United States economy. Consequently,
factors that impact the US economy also have great influence in the local economy. Some of
those economic variables are oil prices, interest rates, US direct investment, US exports, and
US inflation.
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During 2006 a recession began and was not until December 2011 when for the first time the
economy returned to growth. It showed small but consist year-over-year gains for nearly a
year before beginning to retreat again in late 2012. The slight growth in fiscal year 2012
were due mainly to the large amount of stimuli and deficit spending injected in the Puerto
Rico economy during this period.

Puerto Rico’s economy is still on shrinking pace since November 2012. Per the Planning
Board’s numbers, Puerto Rico real gross national product (“GNP”) for fiscal years 2014 and
2015 decreased by 1.7 percent and 0.6 percent, respectively. The Planning Board is
projecting that the economy will contract for fiscal year 2016 and 2017 by 1.8 percent and
2.3 percent, respectively. In order to further reduce the volatility of the Index, the Economic
Analysis Division is testing different seasonal adjustment procedures, which will allow more
reasonable month over month comparisons for the monthly observation of the index.

Puerto Rico has changed from an agricultural economy, based primarily on sugar, tobacco,
and coffee products, to a thriving modern industrial and services oriented economy. In 1940,
agriculture represented 33.7 percent of total net income, while manufacturing had 12.8
percent of the total. Nevertheless, during 2014 agriculture composed 0.8 percent of total net
income while manufacturing made up 46.7 percent of the total. The service sector is the
second largest sector, with 43.5 percent of total net income. The transformation towards the
industrial and services sectors have taken place in a period of over four decades. During this
time structural changes have also occurred, as is the case of the manufacturing sector. This
sector gradually changed from one of labor-intensive industries in the first stages of
development to one of capital-intensive industries. In the last ten years this structural
change intensified with the significant reduction of labor-intensive industries and the
development not only of capital-intensive industries but also of knowledge intensive
industries, such as biotechnology.

A. Industry Analysis

Industry Overview – Puerto Rico

Bank (finance) sector is part of Puerto Rico’s service sector. This sector is of great
prominence, accounting for 44.1 % of Puerto Rico’s gross domestic product (“GDP”) in 2015.
Similar to any other state of the union, Puerto Rico’s financial sector is also fully integrated
in to the US financial system. Federal regulations govern the sector being a constituent part
of the jurisdiction of the Federal Reserve Bank of New York, responsible for implementing
monetary policy enacted by members of the Federal Reserve Board in Washington, D.C.
throughout the United States.

This sector has expanded in terms of income over the past decade, following the general
trend of other industrialized economies, but with difference on the magnitudes of those
changes. Puerto Rico has a developed banking and financial system. As of September 30,
2016, here were nine commercial banks operating in the Island. The OCFI reported $57.8
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billion as total assets of commercial banks on September 30, 2016 as compared to $56.5
billion reported in December 31, 2015.

Broker-dealers in Puerto Rico are regulated by the Financial Industry Regulatory Authority
(“FINRA”), the United States Securities and Exchange Commission (“SEC”) and the OCFI, and
are mainly dedicated to serve investors that are resident of Puerto Rico. According to the
OCFI, assets under management by broker-dealers totalized $1.0 billion in June 30, 2016, as
compared to $1.1 billion on December 31, 2015. Another relevant component of the financial
sector in Puerto Rico is the investment company industry. According to the OCFI, local
investment companies had recorded assets under management of $6.7 billion as of
September 30, 2016.

Other components of the financial sector in Puerto Rico include international banking
entities (“IBEs”), credit unions (“cooperativas”), and IFEs. IBEs are licensed financial
businesses that conduct offshore banking transactions. As of September 30, 2016, there were
30 IBEs operating in Puerto Rico, with total assets of $56.7 billion, an increase from $53.6
billion in total assets as of December 31, 2015. Meanwhile, credit unions, which tend to
provide basic consumer financial services, reached $8.5 billion in assets as of June 30, 2016.
Also, IFEs has experienced strong growth since 2013 with six operating licenses approved in
2013, nine in 2014, eight in 2015 and six as of June 30, 2016. As of March 31, 2016, IFEs had
total assets exceeding $395 million with total capital of $158 million and net income of $2.2
million.


   IX.      Management-Managers and Officers

The following is a brief description of the proposed organizers, managers and executive
officers of the Company, each of whom has a strong business and financial background.

Board Committees:

It is anticipated the Board of Directors will not form any special committees until the
Company shall begin to provide asset management services to third parties. In order to
control risk during such period, the Company shall not invest in any asset or take on any
client or business whatsoever without the approval of the CEO.

Duties and Responsibilities:

Board of Directors- Initially the Board of Directors will primarily be focused on the
following:

   •     Establish the Company and apply for and receive an IFE License from OCFI.
   •     Prepare customized strategic business plan of the Company.
   •     Strategic planning and overall direction of the Company.
   •     Identification of broad competitive factors and the Company’s response thereto.
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   •   Identification of potential strategic partnerships.
   •   Review of Business Lines and Clientele.
   •   Board level marketing direction (to the extent needed later in the evolution of the
       Company’s growth).
Chief Executive Officer (“CEO”) - The CEO will be responsible for ensuring the financial
stability and soundness of the Company so that it may continue to provide its clients and
owners with quality financial products. The CEO will oversee the daily operations and
encourage appropriate growth of the Company through effective management and
leadership, including staff management, effective implementation of Board policies,
objectives and maintaining the safety and soundness necessary to protect the shareholders’
investment. The CEO will be responsible for the preparation and implementation of a
strategic plan and budget, insurance coverage, personnel, funding activities, liquidity, capital
maintenance, client relations, marketing, expansion, and compliance with all applicable laws,
rules and regulations. The CEO will also coordinate all meetings and interaction with the
Board of Directors, members of the Company, regulators and auditors. The CEO will also be
responsible for acquiring and servicing a quality asset management, investment and lending
platform, while maintaining a high degree of transparency to the Company’s clients, as well
as ensuring a profitable return for the Company.

Chief Financial Officer (“CFO”) - The CFO will be responsible for directing activities of
finance administration, overseeing all accounting and related activities, and developing and
implementing financial policies and procedures. The CFO’s duties include preparation of all
management, member and regulatory reports necessary for the Company. The CFO will also
be responsible for oversight of the Company’s investment securities, insurance programs,
capital expenditures, facilities, asset and liability management (to include concentrations,
stress testing, funding strategies, and liquidity), internal controls, compliance, information
technology, tax strategies, external auditors and examiners.

Chief Operating Officer (“COO”) - the responsibilities of the COO shall be performed by the
CEO/CFO until the Company’s operations are of such a significance that a COO shall be
required, Management shall engage in a search for a qualified candidate. The COO will be
responsible for management and compliance of the Company’s operations, information
technology, human resources, internal audit and regulatory compliance. The COO will be
responsible for and oversee the activities of the Operations/IT and other backroom
operations of the Company. The COO will report directly to the Chief Executive Officer.
Specific duties and responsibilities of the COO will include: identifying, implementing and
monitoring appropriate Internet and other information technology to support the
Company’s operational objectives: assuring internal control policies are in place and
followed regarding internal auditing, risk assessment, and other related compliance
activities; directing compliance management processes and programs; directing human
resources and payroll processes and programs; managing and developing operations, HR, IT,
internal audit and compliance personnel; providing expert analysis, evaluation and
application of regulation; and expediting responses and requests for clarifications arising
from regulatory examinations and inquiries.
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Succession:

Management has significant depth and experience in the business segments that the
Company has identified and set forth herein. The Company intends to hire experienced
professionals to fill the higher-level position openings. The Company intends to obtain
training through a number of channels such as seminars, classes, video, in-house and
internet, as is appropriate, available and cost-effective. The Company’s intent will be to
groom, train and promote from within where feasible. As the Company’s business grows
and/or other needs arise, the Company will seek out experienced individuals from outside
the organization to supplement its staffing needs.

Transactions with Affiliates:

No transactions with affiliates outside of the normal course of business are currently
anticipated, other than utilizing existing/new business relationships at an affiliate.


   X.      Records, Systems and Controls
Accounting:

Mint Bank intends to use systems provided by QuickBooks Pro initially (or systems similar
those described hereinafter). Management is quite familiar with QuickBooks Pro, which will
be adequate to satisfy Management’s informational needs for the Company. Management
will be provided with monthly, quarterly and annual financial and management reports
setting forth at a minimum the following reports (in accordance with generally accepted
accounting principles):

   •    Balance Sheet
   •    Income Statement
   •    Statement of Cash Flows
   •    Budget (and actual performance vs. Budget)
   •    Assets under Management
   •    Asset Inventory (including, Asset Mix, Concentration and Correlation)
   •    Portfolio Performance Reports
   •    Summary of Significant Contractual Obligations
   •    Summary of Contractual Compliance Notifications (whether required to be given or
        received)
   •    Pipeline Report (reflecting investments under consideration, their capital
        requirements and their status within the Company’s evaluation process)
   •    Risk Management Report
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Internal Control Systems:

The Board of Directors and the Company’s management will use internal control systems to
safeguard the Company. These will be consistently reviewed and revised as appropriate to
achieve goals and effect change as the environment moves. This includes the policies,
procedures, and systems used by Management.

Mint Bank’s internal control goal is to achieve effective systems for the following:
management of risk, accurate financial reporting, compliance with laws, rulings, regulations,
and policies, and transaction recordation. Controls should be in place for various functions
and may include the separation of duties, internal and external reviews and testing, limits on
investment expenditure, and contractual obligation authorities, safety and accuracy of
records. Internal controls to be implemented at the Company include the following:

Internal Audit Function: The objective of the internal audit program is to determine that
internal checks and controls provide adequate methods (1) to ensure the Company’s general
operating efficiency and safeguarding of its assets, and (2) its compliance with managerial
policies, laws, regulations, and accepted accounting principles. The audit staff will have or
attain adequate appropriate levels of training and experience for their various tasks
according to industry standards and under the authority of the Board of Directors (likely, an
Audit Committee function once committees of the Board are created) with assistance from
the CFO of the Company and external audit and compliance entities.

Audits will be conducted by evaluating the control system and by testing the Company’s
records, procedures, and controls to determine if they meet industry standards. Comply with
the Company policy and fulfill legal and regulatory requirements. Audit procedures will also
include testing of procedures and control systems for weaknesses. Audits will be scheduled
as standards and policy guidelines with routine follow up for areas of weakness or concern.

Audit staff will maintain accurate records of their activity and report to the Board of
Directors (or an Audit Committee function once committees of the Board are created) with
findings and recommendations on a routine basis. Independence of the audit staff is
imperative. Every effort shall be made to isolate this staff from conflicting situations and
ensure reporting and direction is dictated and controlled by the Board of Directors.

Compliance Management Programs: The CFO of the Company will be the Company’s
designated Compliance Officer. The Compliance Officer will rely upon quality forms and
procedures to ensure consumer compliance as well as expertise from the Company staff and
outside parties. Regulatory compliance will be of utmost importance to the Company, and, in
particular, the Compliance Officer.

Appropriate education and training will be provided for staff through industry programs,
seminars, and other contracted resources.
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Independent Accountant Audits: Mint Bank will engage an independent public accounting
firm to provide an annual audit report that meets with regulatory guidelines and the
Company goals and objectives. This engagement will be controlled by the Company’s Board
of Directors (likely, an Audit Committee function once committees of the Board are created).
The engagement letter with such Company will detail the purpose of the audit as well as
scope, fees, and reports to be received. This will include any limitations of scope and the
requirement of an opinion on the financials. This annual audit should provide an objective
and independent view of the Company’s financial reporting activities, risk management
processes and assurances of the effectiveness of internal controls for financial reporting, the
accuracy and timeliness in recording transactions, and the accuracy and completeness of
financial and regulatory reports.


   XI.      Financial Management Plan
A. Capital and Earnings:

Capital:

The Organizer anticipates raising at least $5,000,000 in capital as described in the section
entitled “Proposed Capitalization”. The Company also intends to issue notes to provide
additional finance for its operations and lines of business.

Earnings:

Mint Bank’s management intends to operate the Company along the lines referred to
hereinabove, and at all times focusing on profitability, revenue diversity and maintenance of
product and investment quality. The Company’s management anticipates revenues derived
from asset management fees, merchant, and investment banking fees, interest and penalties
owing on loans and securities, and other revenues resulting from appreciation gains and/or
capital appreciation on investments. As well, the Company’s management anticipates
expenses to primarily consist of interest on loans, provision for losses on loans and/or
principal investments, and general and administrative expenses, including compensation
and benefits, occupancy and equipment, professional fees and other general and
administrative expenses.

B. Liquidity and Funds Management:

Mint Bank anticipates receiving and maintaining sufficient capital such that cash on hand,
certificates of deposit (some of which shall be pledged to the OCFI as required by applicable
law and regulation) will provide adequate liquidity for the Company’s operating, investing
and financing needs, as well as the Company’s regulatory requirements. The Company’s
management expects that there would be periodic asset management fees paid by clients
with respect to the initial business of the Company, together with a relatively stable and
fairly rapid repayment with respect to any debt instruments initially acquired by the
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Company (generally, a 2-year average life) to provide additional capital for investment and
operations.

Mint Bank anticipates the primary uses of its funds to be reimbursement of expenses
required to establish the Company to the Organizer, the startup of the Company’s office and
initial operations and the acquisition of the Company’s initial investments.

C. Investment & Credit Risk:

Effective underwriting of investment opportunities and understanding of business and
collateral valuations, financial statements, cash flows, and market conditions should render
appropriate investment and credit decisions. The Company will have a staff that is well-
prepared and experienced for these activities. This will be supported by continued Manager
and Officer Oversight (including committee oversight once same are created), education, as
well as routine updates from asset management personnel, compliance consultants, and
economic condition monitoring.


   XII.     Monitoring and Revising the Plan
The Board of Directors will receive and consider a significant level of management reports
at their periodic board meetings and through other means of reporting and interaction. The
Company’s Board shall meet on an as-needed basis, but in any event not less than annually.
This will include a full array of agenda items which should accurately reflect the condition
and direction of the Company. The Company’s condition will be regularly reviewed
compared to the budget, and differences will be discussed and explained thoroughly.

A constant review of the Company’s condition, opportunities, and economic factors will
allow budget and strategy changes to be made in an informed and timely fashion. Once the
Company has commenced operations and has operated profitably for not less than 2 years
in compliance with this business plan, Management and the Board of Directors will
implement a long term strategic plan to provide further guidance.
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                                 MINT BANK INTERNATIONAL LLC
                        STATEMENT ATTACHED TO AND MADE PART OF THE
                      STATEMENT OF PERSONAL HISTORY TO BE SUBMITTED BY
                     DIRECTORS, OFFICERS, MANAGERS AND OWNERS OF AN IFE


             Facts Relating to Detention; Arrest and/or Sentence- Section 5 Question B(2)


Mr. Gentile was arrested on July 13, 2012 based on a sealed complaint. He was indicted for securities
fraud violation in connection with "pump-and-dumped" schemes that allegedly began to occur during
April of 2007 and ended approximately in June 2008. After the arrest, Mr. Gentile served as an
informant for the United States Government. Despite his services as an informant, he was indicted
again on March 23, 2016. After some legal procedures, the indictment was dismissed. Since then, Mr.
Gentile has become an exemplary and law abiding citizen and successful entrepreneur.
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